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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

                              JUDGE PHILIP A. BRIMMER


  Case No. _1:20-cr-00152-PAB_____                        Date: _October 22, 2021___

  Case Title: _United States v. Jayson Penn et al. ____

                            UNITED STATES WITNESS LIST

         WITNESS                                                 ESTIMATED DATE(S)
         (FACT WITNESS IN BOLD)                                   AND LENGTH OF
                                                                    TESTIMONY*

James Olson                                                        10/25 – 1.25 hours
Matt Bunch (Tyson Records Custodian)                               10/26 – 0.25 hours
Carolyn Sue Arens (Tyson Records Custodian)                        10/26 – 0.25 hours
Stewart Ward (Koch Records Custodian)                              10/26 – 0.5 hours
Stephen Gresch (TransPerfect, Tyson vendor)                        10/26 – 0.25 hours
Sean King (Consilio, Pilgrim’s vendor)                             10/26 – 0.25 hours
Lumakar Challa (Pilgrim’s Records Custodian)                       10/26 – 0.25 hours
Ted Sangalis (Pilgrim’s Records Custodian)                         10/26 – 0.25 hours
Melissa Sandoval (Verizon Records Custodian)                       10/26 – 0.25 hours
Robert Hood (George’s Records Custodian)                           10/26 – 0.25 hours
George’s vendor                                                    10/26 – 0.25 hours
Bill Kent (RSCS Records Custodian)                                 10/26 – 0.25 hours
Mar-Jac Records Custodian(s)                                       10/27 – 0.5 hours
Joel Williams (Mar-Jac Records Custodian)                          10/27 – 0.5 hours
OpenText Records Custodian(s) (Mar-Jac vendor)                     10/27 – 0.5 hours
Greg Finch (Claxton Records Custodian)                             10/27 – 0.5 hours
Claxton Records Custodian(s)                                       10/27 – 0.5 hours
Simeon Morbey                                                      10/27 – 0.25 hours
Anna Bieganowska                                                   10/27 – 0.25 hours
Phil Fanara (AT&T Records Custodian)                               10/27 – 0.25 hours
Robert Lewis                                                       10/27 – 0.75 hours
Robert Bryant                                                      10/28-11/1 – 3 hours
Special Agent Matthew Koppenhaver                                  11/1-2 – 4.5 hours
Sara Fisher                                                        11/2 – 1.25 hours
Michael Ledford                                                    11/3 – 2 hours
Meyer Skalak                                                       11/3-4 – 1.5 hours
Joseph Brink                                                       11/4 – 1.5 hours
Robert Dawson (Sysco Records Custodian)                            11/4 – 0.25 hours
Melissa Hoyt                                                       11/4 – 1.25 hours
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Telly Smith                                                       11/5 – 1 hours
Gary Weeks                                                        11/5 – 0.25 hours
Brian Coan                                                        11/5 – 0.25 hours
Rebecca Nelson                                                    11/5 – .75 hours
Special Agent LaNard Taylor                                       11/5-9 – 5 hours


  * The government’s estimated length of testimony is based on its planned direct
  examination; it does not account for defendants’ cross-examination or the government’s
  re-direct. The estimated dates reflect an assumption that there will be an equal amount
  of time for defendants’ cross examination.




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